    Case 4:23-cv-04787          Document 65       Filed on 05/20/25 in TXSD       Page 1 of 4




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION


 In re:

 Professional Fee Matters Concerning the                     Civil Action No. 4:23-CV-4787-AM
 Jackson Walker Law Firm




                          DAVID DUNN, LIQUIDATION TRUSTEE’S
                            WITNESS AND EXHIBIT LIST FOR
                               HEARING ON MAY 22, 2025

          David Dunn (“Trustee”), Liquidation Trustee for the Basic Energy Liquidation Trust, files

this witness and exhibit list (the “Witness and Exhibit List”) for the hearing scheduled for May

22, 2025 at 9:00 a.m. (Prevailing Central Time) before Chief Judge Alia Moses in Courtroom

8C of the United States Courthouse at 515 Rusk Street, Houston, Texas 77002 (the “Hearing”) and

respectfully designates the following potential witnesses and exhibits.

                                           WITNESSES

          The Trustee may call and/or cross examine any of the following witnesses at the Hearing:

          1.     David Dunn, Liquidation Trustee of Basic Energy Liquidation Trust

          2.     Any witness called or listed by any other party; and

          3.     Any rebuttal witnesses.
      Case 4:23-cv-04787       Document 65       Filed on 05/20/25 in TXSD   Page 2 of 4




                                            EXHIBITS

                                                                       Admitted/
Ex.                                                                      Not
 #                   Description                 Offered   Objection   Admitted     Date
      Settlement Agreement and Release
      between Jackson Walker LLP and the
1     Trustee
      Order Granting the Debtors’
      Application for Entry of an Order
      Authorizing the Retention and
      Employment of Jackson Walker LLP
      as Counsel to the Debtors [Doc. No.
2     997 in Case No. 21-90002]
      Amended Combined Disclosure
      Statement and Joint Plan of
      Liquidation of Basic Energy Services,
      Inc. and Its Affiliated Debtors Pursuant
      to Chapter 11 of the Bankruptcy Code
3     [Doc. No. 1421 in Case No. 21-90002]
      Order Confirming the Debtors’
      Combined Plan of Liquidation and
      Approving on a Final Basis the
      Disclosure Statement of Basic Energy
      Services, Inc., and its Affiliated
      Debtors Pursuant to Chapter 11 of the
      Bankruptcy Code [Doc. No. 1436 in
4     Case No. 21-90002]
      Notice of (i) Entry of Confirmation
      Order, (ii) Occurrence of the Effective
      Date, and (iii) Related Bar Dates [Doc.
5     No. 1454 in Case No. 21-90002]
      Final Order Allowing Compensation
      and Reimbursement of Expenses [Doc.
6     No. 1511 in Case No. 21-90002]
      United States Trustee’s Amended and
      Supplemental Motion for (1) Relief
      from Judgment Pursuant to Federal
      Rule of Civil Procedure 60(b)(6) and
      Federal Rule of Bankruptcy Procedure
      9024 Approving the Retention and
      Compensation Applications of Jackson
      Walker LLP, (2) Sanctions, and (3)
      Related Relief [Doc No. 1791 in Case
7     No. 21-90002]


                                                 2
      Case 4:23-cv-04787      Document 65       Filed on 05/20/25 in TXSD      Page 3 of 4




                                                                       Admitted/
Ex.                                                                      Not
 #                  Description                 Offered   Objection    Admitted         Date
      Joinder in United States Trustee’s
      Motion for Relief from Judgment or
      Order Pursuant to Federal Rule of Civil
      Procedure 60(b)(6) and Federal Rule of
      Bankruptcy Procedure 9024 Approving
      Any Jackson Walker Applications for
      Compensation and Reimbursement of
      Expenses [Docket No. 1788 in Case
8     No. 21-90002]
      Demand Letter to Jackson Walker LLP
9     dated March 13, 2024
      Supplemental Demand Letter to
      Jackson Walker LLP dated January 23,
10    2025
      Jackson Walker LLP’s Response in
      Opposition of the US Trustee’s
      Amended Rule 60 Motion [Doc. No.
11    1834 in Case No. 21-90002]
      Summary of Bonds Ellis Eppich
12    Schafer Jones LLP invoices
      Third Plan Supplement with
      Liquidation Trust Agreement attached
      as Exhibit A [Doc. No. 1423 in Case
13    No. 21-90002]
      Notice of Standing and Indispensable
      Party [Doc. No. 1807 in Case No. 21-
14    90002]
15    Demonstrative Exhibit - Timeline
      Any pleading or other document filed
      with the Court on the docket of the
      above-captioned chapter 11 cases.
      Any exhibit necessary to rebut the
      evidence or testimony of any witness
      offered or designated by any other
      party.
      Any exhibit listed by any other party.


        The Trustee reserve the right to amend or supplement the Witness and Exhibit List at any

time prior to the Hearing.

                                                3
   Case 4:23-cv-04787        Document 65       Filed on 05/20/25 in TXSD       Page 4 of 4




DATED: May 20, 2025                 Respectfully submitted,

                                    BONDS ELLIS EPPICH SCHAFER JONES LLP

                                    /s/ Aaron M. Guerrero
                                    Ken Green (Texas State Bar No. 24036677)
                                    Aaron M. Guerrero (Texas State Bar No. 24050698)
                                    Bryan Prentice (Texas State Bar No. 24099787)
                                    402 Heights Boulevard
                                    Houston, Texas 77007
                                    (713) 335-4990 telephone
                                    (832) 740-1411 facsimile
                                    ken.green@bondsellis.com
                                    aaron.guerrero@bondsellis.com
                                    bryan.prentice@bondsellis.com

                                    COUNSEL FOR DAVID DUNN,
                                    THE LIQUIDATION TRUSTEE OF THE BASIC
                                    ENERGY LIQUIDATION TRUST


                               CERTIFICATE OF SERVICE

        I hereby certify that on May 20, 2025 a true and correct copy of the foregoing was filed
with the Court and served via the Court's CM/ECF notification system upon all parties registered
to receive such electronic notices in this case.


                                            /s/ Aaron M. Guerrero
                                            Aaron M. Guerrero




                                               4
